Case 2:20-cv-00894-MWF-JEM Document 41 Filed 09/15/20 Page 1 of 6 Page ID #:387


                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA                      JS-6
                             CIVIL MINUTES—GENERAL

  Case No. CV-20-00894-MWF (JEMx)                 Date: September 15, 2020
  Title:   Jonathan Loyhayem v. Fraser Financial and Insurance Services, Inc., et al.

  Present: The Honorable MICHAEL W. FITZGERALD, U.S. District Judge

            Deputy Clerk:                           Court Reporter:
            Rita Sanchez                            Not Reported

            Attorneys Present for Plaintiff:        Attorneys Present for Defendant:
            None Present                            None Present

  Proceedings (In Chambers): ORDER RE: DEFENDANT’S MOTION TO
                             DISMISS FOR FAILURE TO STATE A CLAIM
                             UPON WHICH RELIEF CAN BE GRANTED [36]

        Before the Court is Defendant Fraser Financial and Insurance Services, Inc.’s
  (“Fraser”) Motion to Dismiss for Failure to State a Claim on Which Relief can be
  Granted (the “Motion”), filed on August 4, 2020. (Docket No. 36). On August 24,
  2020, Plaintiff Jonathan Loyhayem filed an Opposition. (Docket No. 37). On August
  31, 2019, Defendant filed a Reply. (Docket No. 39).

        The Motion was noticed to be heard on September 14, 2020. The Court read and
  considered the papers filed on the Motion and deemed the matter appropriate for
  decision without oral argument. See Fed. R. Civ. P. 78(b); Local Rule 7-15. Vacating
  the hearing was further consistent with General Order 20-09 arising from the COVID-
  19 emergency. The hearing was therefore VACATED and removed from the Court’s
  calendar.

        For the following reasons, Fraser’s Motion is GRANTED without leave to
  amend and the action is DISMISSED. Once again, Plaintiff has failed to plead facts
  demonstrating Fraser’s job recruitment call constitutes a telemarketing or
  advertisement call prohibited by the Telephone Consumer Protection Act (“TCPA”),
  47 U.S.C. § 227.



  ______________________________________________________________________________
                           CIVIL MINUTES—GENERAL                              1
Case 2:20-cv-00894-MWF-JEM Document 41 Filed 09/15/20 Page 2 of 6 Page ID #:388


                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES—GENERAL

  Case No. CV-20-00894-MWF (JEMx)                 Date: September 15, 2020
  Title:   Jonathan Loyhayem v. Fraser Financial and Insurance Services, Inc., et al.

  I.    BACKGROUND

        A.     Procedural History and the Parties

         Plaintiff commenced this putative class action on January 28, 2020, against
  Fraser and Massachusetts Mutual Life Insurance Company (“Mass Mutual”). (See
  generally Complaint (Docket No. 1)). On March 9, 2020, the parties stipulated to
  allow Plaintiff to file a First Amended Complaint (“FAC”). (Docket No. 19). The
  Court granted the stipulation, and Plaintiff filed his FAC on March 27, 2020. (Docket
  Nos. 20, 23). After Plaintiff filed his FAC, the parties again met and conferred, and
  stipulated to allow Plaintiff to file a Second Amended Complaint (“SAC”). (Docket
  No. 24). The Court granted the stipulation (Docket No. 25) and Plaintiff filed his SAC
  on April 27, 2020. (Docket No. 26).

         Defendant filed a Motion to Dismiss for Failure to State a Claim Upon Which
  Relief can be Granted on May 11, 2019. (Docket No. 29). On July 7, 2020, the Court
  granted Defendant’s Motion to Dismiss on the basis that Defendant’s call to Plaintiff
  did not constitute a telemarketing or advertising call prohibited by the TCPA. (Order
  Granting Defendant’s Motion to Dismiss (“Dismissal Order”) (Docket No. 34)). The
  Court granted the motion with leave to file a Third Amended Complaint (“TAC”).
  (Id.). Plaintiff filed a TAC on July 21, 2020. (Docket No. 35).

        Plaintiff is an individual residing in California. (TAC ¶¶ 2, 4). Fraser is an
  investment and financial services company incorporated in California. (Id. ¶ 5).

         On May 26, 2020, Plaintiff voluntarily dismissed Mass Mutual with prejudice to
  his individual claims, but without prejudice as to the putative class claims. (Docket
  No. 32).




  ______________________________________________________________________________
                           CIVIL MINUTES—GENERAL                              2
Case 2:20-cv-00894-MWF-JEM Document 41 Filed 09/15/20 Page 3 of 6 Page ID #:389


                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES—GENERAL

  Case No. CV-20-00894-MWF (JEMx)                 Date: September 15, 2020
  Title:   Jonathan Loyhayem v. Fraser Financial and Insurance Services, Inc., et al.

        B.     Factual Background

         The Court incorporates by reference the factual allegations outlined in this
  Court’s July 7, 2020 order granting Defendant’s Motion to Dismiss. (Dismissal Order
  at 2-4). The following facts are based solely on the additional factual allegations raised
  in Plaintiff’s TAC, which the Court assumes are true and construes any inferences
  arising from those facts in the light most favorable to Plaintiff. See, e.g., Schueneman
  v. Arena Pharm., Inc., 840 F.3d 698, 704 (9th Cir. 2016) (restating generally-accepted
  principle that “[o]rdinarily, when we review a motion to dismiss under Federal Rule of
  Civil Procedure 12(b)(6), we accept a plaintiff’s allegations as true ‘and construe them
  in the light most favorable’ to the plaintiff”) (quoting Zucco Partners, LLC v. Digimarc
  Corp., 552 F.3d 981, 989 (9th Cir. 2009)).

         Beginning in or around December 2019, Defendant called Plaintiff on his
  cellular telephone to “recruit him for employment with the company.” (TAC ¶ 31).
  Defendant’s calls to Plaintiff were “unsolicited job recruitment calls,” not
  “telemarketing or solicitation calls.” (Id. ¶ 25). By alleging that the calls were
  “unsolicited,” Plaintiff means that he did not provide his cellular telephone number to
  Defendant, nor to any job recruitment agency under a scenario whereby he was
  inviting recruitment calls. (Id.). Defendant had no express consent to call Plaintiff, for
  any reason, on his personal cellular phone. (Id. ¶ 24).

         Plaintiff asserts that the California Department of Insurance licensing database
  provides public information about insurance agents on its website, and that Plaintiff’s
  cell phone number was posted on the California Insurance Board website by the
  “Insurance Board.” (Id. at 26). Plaintiff was not actively involved in the public posting
  of his phone number, nor did Plaintiff authorize his number to be to be provided to, or
  accessed by, third parties for the purposes of making automated calls. (Id.).

         Defendant scraped Plaintiff’s phone number from the “California Insurance
  Board” website, which Plaintiff contends is an organization that requires Plaintiff, as a
  licensed insurance agent, to maintain current contact information. (Id. ¶ 27). Plaintiff
  did not authorize Defendant to access his phone number from the website, and Plaintiff
  ______________________________________________________________________________
                           CIVIL MINUTES—GENERAL                              3
Case 2:20-cv-00894-MWF-JEM Document 41 Filed 09/15/20 Page 4 of 6 Page ID #:390


                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES—GENERAL

  Case No. CV-20-00894-MWF (JEMx)                 Date: September 15, 2020
  Title:   Jonathan Loyhayem v. Fraser Financial and Insurance Services, Inc., et al.

  did not authorize anyone to contact him via the Insurance Board website in order to
  recruit him for a job. (Id.). Plaintiff was gainfully employed at the time, and not in the
  market for a job. (Id.).

  II.   REQUEST FOR JUDICIAL NOTICE

         As a general rule, “a district court may not consider any material beyond the
  pleadings in ruling on a Rule 12(b)(6) motion.” Lee v. City of Los Angeles, 250 F.3d
  668, 688 (9th Cir. 2001). The Court may, however, take judicial notice of matters of
  public record outside the pleadings that are not subject to reasonable dispute. Fed. R.
  Evid. 201(b); see Skilstaf, Inc. v. CVS Caremark Corp., 669 F.3d 1005, 1016 n.9 (9th
  Cir. 2012).

        Along with the Motion, Fraser asks the Court to take judicial notice of four
  documents. (Request for Judicial Notice (“RJN”) (Docket No. 37)). Each of the four
  documents are attached as exhibits to the Declaration of Wendy M. Thomas (“Thomas
  Decl.”) filed concurrently with the Motion (Docket No. 36-2):

            Exhibit 1 – California Department of Insurance Individual License
             Details for Jonathan Loyhayem (License # 0H59893). (Thomas Decl., Ex.
             No. 1 (Docket No. 36-3));

            Exhibit 5 – California Department of Insurance Individual License
             Details for Grant Fraser (License # 0656661). (Thomas Decl., Ex. No. 5
             (Docket No. 36-7));

            Exhibit 6 – California Secretary of State Details for Defendant Fraser
             Financial and Insurance Services, Inc. (License # C2158567). (Thomas
             Decl., Ex. No. 6 (Docket No. 36-7)); and

            Exhibit 7 – Articles of Incorporation of Defendant Fraser Financial and
             Insurance Services, Inc. (Thomas Decl., Ex. 7 (Docket No. 36-8)).

  ______________________________________________________________________________
                           CIVIL MINUTES—GENERAL                              4
Case 2:20-cv-00894-MWF-JEM Document 41 Filed 09/15/20 Page 5 of 6 Page ID #:391


                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES—GENERAL

  Case No. CV-20-00894-MWF (JEMx)                 Date: September 15, 2020
  Title:   Jonathan Loyhayem v. Fraser Financial and Insurance Services, Inc., et al.

        Exhibits 1 and 5 were obtained from the California Department of Insurance
  (“DOI”) website, a state agency website. The authenticity of such records is not
  subject to reasonable dispute. Gerritsen v. Warner Bros. Entm’t Inc., 112 F. Supp. 3d
  1011, 1033 (C.D. Cal. 2015) (“[T]he court can take judicial notice of [p]ublic records
  and government documents available from reliable sources on the Internet, such as
  websites run by governmental agencies.”) (internal quotation marks and citations
  omitted).

         Exhibits 6 and 7 were taken from the California Secretary of State website and
  are likewise properly subject to judicial notice. See L’Garde, Inc. v. Raytheon Space &
  Airborne Sys., 805 F. Supp. 2d 932, 937-38 (C.D. Cal. 2011) (“[T]he accuracy of
  results of records searches from the Secretary of State for the State of California
  corporate search website can be determined by readily accessible resources whose
  accuracy cannot reasonably be questioned.”).

         Accordingly, Fraser’s unopposed RJN is GRANTED.

  III.   DISCUSSION

         “Dismissal under Rule 12(b)(6) is proper when the complaint either (1) lacks a
  cognizable legal theory or (2) fails to allege sufficient facts to support a cognizable
  legal theory.” Somers v. Apple, Inc., 729 F.3d 953, 959 (9th Cir. 2013). “To survive a
  motion to dismiss, a complaint must contain sufficient factual matter . . . to ‘state a
  claim for relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678
  (2009) (quoting Bell Atlantic v. Twombly, 550 U.S. 544, 570 (2007)).

         The elements of a TCPA claim are: “(1) the defendant called a cellular
  telephone; (2) using an automatic telephone dialing system [“ATDS”]; (3) without the
  recipient’s prior express consent.” Meyer v. Portfolio Recovery Assocs., LLC, 707
  F.3d 1036, 1043 (9th Cir. 2012).

        In relevant part, the TCPA prohibits “any telephone call that includes or
  introduces an advertisement or constitutes telemarketing[.]” 47 C.F.R. §
  ______________________________________________________________________________
                           CIVIL MINUTES—GENERAL                              5
Case 2:20-cv-00894-MWF-JEM Document 41 Filed 09/15/20 Page 6 of 6 Page ID #:392


                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES—GENERAL

  Case No. CV-20-00894-MWF (JEMx)                 Date: September 15, 2020
  Title:   Jonathan Loyhayem v. Fraser Financial and Insurance Services, Inc., et al.

  64.1200(a)(2). An “advertisement” is “any material advertising the commercial
  availability or quality of any property, goods, or services.” Id. § 64.1200(f)(1).
  “Telemarketing” is “the initiation of a telephone call or message for the purpose of
  encouraging the purchase or rental of, or investment in, property, goods, or services,
  which is transmitted to any person.” Id. § 64.1200(f)(12).

        “Prior express consent is a complete defense to [a] TCPA claim.” Reardon v.
  Uber Techs., Inc., 115 F. Supp. 3d 1090, 1097 (N.D. Cal. 2015) (citing Van Patten v.
  Vertical Fitness Grp., LLC, 22 F. Supp. 3d 1069, 1073 (S.D. Cal. 2014)).

         This Court dismissed Plaintiff’s SAC on the basis that Fraser’s call to Plaintiff
  was not a telemarketing or advertising call prohibited by the TCPA and therefore did
  not require Plaintiff’s prior express consent. (Dismissal Order at 8-10). Plaintiff’s
  TAC fails to cure the defect in his SAC.

          Rather than plead facts demonstrating that Fraser’s call was a telemarketing or
  advertising call, Plaintiff explicitly reaffirms in his TAC that he received a job
  recruitment call. (TAC ¶¶ 25, 31). Job recruitment calls do not fall within the scope
  of conduct prohibited by the TCPA. Friedman v. Torchmark Corp., No. 12-CV-2837-
  IEG (BGSx), 2013 WL 1629084 at *5 (S.D. Cal. Apr. 16, 2013). Plaintiff therefore
  fails to plead facts sufficient to support his TCPA claims.

  IV.   CONCLUSION

      Defendant’s Motion is GRANTED without leave to amend and the action is
  DISMISSED.

          This Order shall constitute notice of entry of judgment pursuant to Federal Rule
  of Civil Procedure 58. Pursuant to Local Rule 58-6, the Court ORDERS the Clerk to
  treat this order, and its entry on the docket, as an entry of judgment.

        IT IS SO ORDERED.
  ______________________________________________________________________________
                           CIVIL MINUTES—GENERAL                              6
